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                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:
                                                       Case No. 8:11-bk-05292-CPM
EDWIN MARTINEZ and                                     Chapter 7
MIGDALIA MARTINEZ,

         Debtors.
                                        /

                  AFFIDAVIT IN SUPPORT OF TRUSTEE’S APPLICATION
              TO EMPLOY COUNSEL PURSUANT TO FED. R. BANKR. P. 2014(a)

STATE OF FLORIDA                        )
                                        )
COUNTY OF HILLSBOROUGH                  )

         BEFORE ME, the undersigned authority, personally appeared LORI V. VAUGHAN,

who, being duly sworn deposes and says:

         1.      I, Lori V. Vaughan, declare under penalty of perjury pursuant to the provisions of

28 U.S.C. § 1746, that the following statements are true and correct:

         2.      I am a shareholder in the law firm of Trenam, Kemker, Scharf, Barkin, Frye,

O’Neill & Mullis, P.A. (“Trenam”) and am admitted to practice in the United States District

Court for the Middle District of Florida.

         3.      This affidavit is submitted in compliance with 11 U.S.C. §§ 327(a) and Federal

Rule of Bankruptcy Procedure 2014.

         4.      The Trustee seeks to employ Trenam pursuant to 11 U.S.C. §327(a) for the

purposes identified in the Application to Employ Counsel.

         5.      In preparing this affidavit, I have reviewed the all-creditor mailing matrix for this

case and Trenam has compared the information listed on the matrix with the information

contained in Trenam’s client and adverse party conflict check index system. The facts stated in
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this affidavit as to the relationship between other lawyers in Trenam and the Debtors, the

Debtors’ creditors, other parties-in-interest, their respective attorneys and accountants, the

United States Trustee, other persons employed in the office of the United States Trustee, and

those persons and entities who are defined as not disinterested person in § 101(14) of the

Bankruptcy Code are based upon the results of the review of Trenam’s conflict check index

system.

       6.      Trenam’s client and adverse party conflict check index system comprises of

records regularly maintained in the course of business of the firm, and it is the regular practice of

the firm to make and maintain the records. The conflict system reflects entries that are noted in

the system at the time the information becomes known by persons whose regular duties include

recording and maintaining this information.

       7.      While employed by Trustee, Trenam will not represent or hold any interest

adverse to the estate with respect to the matters on which Trenam is to be employed by the

Trustee.

       8.      There are no agreements for the sharing of compensation received or to be

received for services rendered as special counsel to the Trustee, other than among the members

and regular associates of Trenam.

       9.      No attorney in Trenam represents an insider of the Debtors.

       10.     No attorney in Trenam has any other interest, direct or indirect, that may be

affected by the proposed representation.

       11.     To the best of my knowledge, neither I nor any member or associate of Trenam

has any connection with the Debtors, creditors, any other party-in-interest, their respective




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attorneys and accountants, the United States Trustee, or any person employed in the Office of the

United States Trustee, except as set forth below:

               a.     Attorney Benjamin Lambers, assistant counsel to the United States
                      Trustee, was formerly employed as an associate by Trenam.

               b.     I was employed by the United States Bankruptcy Court for the Middle
                      District of Florida as a Judicial Law Clerk to the Honorable Karen S.
                      Jennemann August 1998 through August 1999.

               c.     Dawn A. Carapella, a Chapter 7 Trustee appointed to the panel of Chapter
                      7 Trustees in Tampa, Florida, was formerly employed as a shareholder by
                      Trenam.

               d.     Attorney Lara R. Fernandez, a shareholder with Trenam, was employed by
                      the United States Bankruptcy Court for the Middle District of Florida as a
                      Judicial Law Clerk to the Honorable Alexander L. Paskay, Chief United
                      States Bankruptcy Judge Emeritus in 1996 through 1997, and during the
                      period from November 2001 through October 2004.

               e.     Attorney Stephanie C. Lieb, a shareholder with Trenam, was employed by
                      the United States Bankruptcy Court for the Middle District of Florida as a
                      Judicial Law Clerk to the Honorable Catherine P. McEwen, United States
                      Bankruptcy Judge in 2006 through 2008.

               f.     Attorney Megan W. Murray, an associate with Trenam, was employed by
                      the United States Bankruptcy Court for the Middle District of Florida as a
                      Judicial Law Clerk to the Honorable Karen S. Jennemann September 2011
                      through September 2013.

               g.     Trenam has in the past represented Beth Ann Scharrer as Chapter 7
                      Trustee in several chapter 7 cases which are unrelated to this case, which
                      matters are now closed.

               h.     Trenam has in the past represented and currently represents the following
                      entities or their affiliates in matters wholly unrelated to this case and the
                      Debtor. Such parties do not appear to be adverse:

                             Chase/JPMorgan Chase Bank
                             Home Depot

               i.     Trenam represents or has represented in the past Chapter 7 trustees,
                      Chapter 11 unsecured creditor committees or debtors in cases in which
                      creditors of the Debtors may have been creditors.


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              j.       Trenam previously represented Beth Ann Scharrer, personally, together
                       with a group of other chapter 7 trustees in the Middle District of Florida,
                       regarding the calculation and recovery of documentary stamp with the
                       Florida Department of Revenue.

              k.       Trenam currently represents Beth Ann Scharrer, as Chapter 7 trustee in the
                       following open matters, and may represent her in the future as Chapter 7
                       trustee in additional cases:


                                  i.      In re Stephen and Wynona Shaffer, Case No. 8:08-bk-
                                          10399-ICRM;
                                  ii.     In re Akhil K. Joshi and Bala R. Joshi, Case No. 8:11-
                                          bk-13074-CPM; and
                                  iii.    In re Antoni Bielawski and Stanislava Bielawska^ Case
                                          No. 8:14-bk-00222-CPM.
                                  iv.     In re Brigitte M. Whitted, Case no. 8:07-bk-l 1802-CPM

              1.       Trenam may have corporate and individual vendor accounts with certain
                       of the estate's creditors; however, Trenam does not represent these
                       vendors in any action against the Debtors, trustee or the estate.

THIS CONCLUDES MY AFFIDAVIT.




                                                       ORI V. VAUGHAN



      SWORN TO and subscribed before me in my presence on July 23, 2018, by LORI V.
VAUGHAN, who is personally known to me.




                                              Notary Public, State of Florida

My commission expires: ij

            IVETTE OAWJONS
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